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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,                                                    Case No.:

                               Plaintiff,

       vs.                                                    JURY TRIAL DEMANDED

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A
HERETO,

                               Defendants.                    REDACTED PUBLIC VERSION




                                            COMPLAINT

       Plaintiff Roadget Business Pte. Ltd. (“Roadget”), for its complaint and prayer for

injunctive relief against the parties identified on Schedule A attached hereto (“Defendants”),

states as follows:


                                         INTRODUCTION

       1.      Plaintiff Roadget owns the enormously popular SHEIN online fashion and

lifestyle retailer. (See http://us.shein.com/.) SHEIN’s affordable clothes and original designs

have taken the Internet by storm—and inspired many copycats on e-commerce platforms.

Defendants are online sellers operating under one or more seller aliases that are advertising,

offering for sale, and selling clothing using SHEIN’s original, copyrighted works. These sellers

appear to operate in anonymity by providing no personal information. They may be using more

than one alias at a time to conceal their identities and the full scope of their operation.


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        2.      Roadget is forced to file this action to combat Defendants’ infringement of its

copyrighted works and to protect unknowing consumers from purchasing unauthorized products

over the Internet. Roadget has been irreparably damaged by Defendants’ infringement and seeks

injunctive and monetary relief.


                                            THE PARTIES

        3.      Plaintiff Roadget Business Pte. Ltd. is a private limited company with its principal

place of business in Singapore. Roadget owns the famous SHEIN trademark and online fashion

and lifestyle retailer.

        4.      Defendants are business entities who, upon information and belief, reside mainly

in foreign jurisdictions. Defendants operate e-commerce stores under the seller aliases identified

on Schedule A and/or other aliases. Defendants conduct business in the United States and, on

information and belief, have sold and continue to sell products to United States consumers,

including in Illinois and this judicial district.


                                   JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a), as this action arises under the copyright laws of the United States.

        6.      This Court has personal jurisdiction over Defendants because, on information and

belief, Defendants target business activities toward consumers in the United States, including

Illinois. Defendants sell to Illinois residents and other United States consumers by setting up and

operating e-commerce stores through online platforms. Defendants offer shipping to the United

States, including Illinois, and accept payments in U.S. dollars from U.S. bank accounts. On

information and belief, Defendants have sold and continue to sell apparel with unauthorized



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copies of Roadget’s copyrighted works to residents of Illinois. Defendants have wrongfully

injured Roadget in the state of Illinois.

       7.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391 and

1400(a). In this copyright action, venue is proper in any district in which Defendants reside or

may be found, which includes any district in which they would be subject to personal

jurisdiction. See also 28 U.S.C. § 1391(b)(3). On information and belief, Defendants are not

residents in the United States, which means that they may be sued in any judicial district

pursuant to 28 U.S.C. § 1391(c)(3).


                                            BACKGROUND

Plaintiff’s Copyrighted Works

       8.      Roadget is a private limited company registered in Singapore. Its SHEIN

trademarks are used to sell a wide variety of products worldwide. In the United States, Roadget’s

affiliate and licensee, Shein Distribution Corporation (“SDC”), sells apparel, beauty products,

home goods, pet supplies, and a variety of other products through Roadget’s mobile application

and its website, https://us.shein.com.

       9.      The SHEIN brand has skyrocketed in popularity over the last several years,

becoming one of the most visited fashion sites in the world and talked-about brands on TikTok

and other social media.

       10.     SHEIN was an early adopter of social media marketing. The SHEIN app became

the most downloaded shopping app on Apple’s App Store in 2021. The following year, it

attained the top spot as the most downloaded application in any category, outperforming both

TikTok and Instagram. In addition to its total of over 60 million followers on social media, it




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became the most talked-about brand on TikTok in 2022. Social media influencers’ “SHEIN

haul” videos displaying their purchases regularly go viral.

         11.    Through the SHEIN brand, Roadget has invested significant resources in building

goodwill and brand recognition on social media. It has made a name among regular shoppers.

And it has registered various copyrights to protect its original designs and photographs.

         12.    Roadget is the registered owner of the six copyrighted designs and four

copyrighted photographs at issue here (the Roadget Copyrights). The registration certificates are

attached as Exhibits A through J. 1 As reflected on those certificates, Roadget is the copyright

owner, and the copyrights are valid and enforceable. Information about the Roadget Copyrights

is provided in the following table.

    Registration No.   Effective Date       Title of Work             Design/Photo




1




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Registration No.   Effective Date   Title of Work        Design/Photo




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 Registration No.    Effective Date       Title of Work            Design/Photo




       13.     Each of the Roadget Copyrights is included in product listings on the SHEIN

website and/or app. An exemplary SHEIN product listing for each design or photograph is

provided in the following table.



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   Registration No.    Title of Work                SHEIN Product Listing URL




Defendants’ Unlawful Conduct

       14.    Defendants are online sellers on e-commerce platforms, including eBay and

Temu. Defendants have deliberately and unlawfully copied, displayed, and sold various apparel

bearing images virtually identical to the Roadget Copyrights. The success of the SHEIN brand

inspires many copycats. Roadget regularly finds sellers on e-commerce platforms selling goods

bearing infringing copies of the Roadget Copyrights. Defendants are among such sellers.



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       15.     Defendants knowingly and willfully manufacture, offer for sale, and/or sell

apparel bearing the Roadget Copyrights in the United States without authorization. Defendants’

conduct infringes Roadget’s copyright and irreparably harms Roadget.


                                       COUNT I
    Copyright Infringement (17 U.S.C. §§ 106 and 501) Against Schedule A Defendants

       16.     Roadget incorporates each of the preceding paragraphs as if fully set forth herein.

       17.     The Roadget Copyrights are original works and are copyrightable subject matter

under 17 U.S.C. § 101 et seq.

       18.     Roadget’s copyright registrations for the Roadget Copyrights are valid and in full

force and effect. At all relevant times, Roadget has owned and still owns all exclusive rights in

the Roadget Copyrights, including the right to reproduce, to prepare derivative works, and to

distribute copies.

       19.     Roadget has never assigned or licensed the rights to the Roadget Copyrights to

any party unaffiliated with Roadget itself. In particular, Roadget has never granted any license or

rights in the Roadget Copyrights to Defendants.

       20.     Defendants have deliberately and unlawfully copied, manufactured, displayed,

reproduced, created derivative works of, adapted, marketed, sold, and/or distributed the Roadget

Copyrights in violation of Roadget’s copyrights.

       21.     Defendants had access to the Roadget Copyrights via the Internet. The designs

appear on SHEIN-branded clothing that SDC (a Roadget-affiliated company) sells online, and

the photographs are used to sell SHEIN products.

       22.     As to the six copyrighted designs, Defendants’ clothing designs are substantially

similar to the Roadget Copyrights. Examples are provided below of the six designs copyrighted

by Roadget presented side-by-side with an infringing product of a Defendant listed in Schedule

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A. Additionally, Defendants have copied the four copyrighted photographs exactly without

modification.

          Original Design                                 Copied Design




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     Original Design                           Copied Design




                                    10
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     Original Design                           Copied Design




                                    11
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       23.     Defendants’ actions constitute willful copyright infringement in violation of 17

U.S.C. §§ 106 and 501(a).

       24.     Defendants reap the benefit of their unauthorized copying in the form of revenue

and other profits from the sale of clothing using the copied designs and photographs.

       25.     Pursuant to 17 U.S.C. § 504, Roadget is entitled to actual damages and any

additional profits attributable to Defendants’ acts in an amount to be determined at trial, as well

as statutory damages, enhanced for Defendants’ willful infringement.

       26.     Defendants have caused, and if not enjoined will continue to cause, Roadget

irreparable injury for which there is no adequate remedy at law.


                                     PRAYER FOR RELIEF

               Roadget prays for the following relief:

       1.      Judgment in favor of Roadget.

       2.      Preliminary and permanent injunctive relief restraining Defendants and

Defendants’ officers, agent, servants, employees, attorneys, and all persons in active concert

and/or participation with any of them from:

               a.       reproducing, distributing copies of, making derivative works of, or

       publicly displaying the Roadget Copyrights in any manner without Roadget’s express

       authorization;

               b.       manufacturing, shipping, delivering, holding for sale, transferring, or

       otherwise moving, storing, distributing, returning, or disposing of, in any manner,

       products or inventory not manufactured by or for Roadget which bear the Roadget

       Copyrights.




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           3.   Entry of an Order that, upon Roadget’s request, those with notice of the

injunction, shall disable and cease displaying any advertisements used by or associated with

Defendants in connection with the sale of infringing goods which bear the Roadget Copyrights.

           4.   Compensatory and exemplary damages, as well as disgorgement of Defendants’

profits.

           5.   Alternatively, Roadget prays for the maximum amount of statutory damages

provided by law, $150,000 per work infringed pursuant to 17 U.S.C. § 504(c).

           6.   Pre-and post-judgment interest and attorney’s fees and costs.

           7.   All other and further relief as is just, equitable, and proper.



 January 4, 2024                                    Respectfully submitted,


                                                    By: /s/ Steven J. Horowitz
                                                     Steven J. Horowitz
                                                     Matt Binder
                                                     Deepa A. Chari
                                                     SIDLEY AUSTIN LLP
                                                     One South Dearborn Street
                                                     Chicago, IL 60603
                                                     (312) 853-7000
                                                     shorowitz@sidley.com
                                                     mbinder@sidley.com
                                                     dchari@sidley.com

                                                       Counsel for Plaintiff
                                                       Roadget Business Pte. Ltd




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                           Plaintiff,

      vs.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED                  REDACTED PUBLIC VERSION
ASSOCIATIONS IDENTIFIED ON SCHEDULE A
TO THE COMPLAINT,

                           Defendants



                  SEALED SCHEDULE A TO SEALED COMPLAINT




                                              1
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                                  Defendant Online    Design
No.   Defendant Seller                                                 Product Link(s)
                                  Marketplace         Infringed




                                                        2
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                                  Defendant Online    Design
No.   Defendant Seller                                                 Product Link(s)
                                  Marketplace         Infringed




                                                        3
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                                  Defendant Online    Design
No.   Defendant Seller                                                 Product Link(s)
                                  Marketplace         Infringed




                                                        4
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                                  Defendant Online    Design
No.   Defendant Seller                                                 Product Link(s)
                                  Marketplace         Infringed




                                                        5
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                                  Defendant Online    Design
No.   Defendant Seller                                                 Product Link(s)
                                  Marketplace         Infringed




                                                        6
